5 Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 1 of 29
Page 1
1
2 UNITED STATES DISTRICT COURT
3 EASTERN DISTRICT OF LOUISIANA
A ne Xx
5 In re: OIL SPILL BY THE OIL RIG
6 "DEEPWATER HORIZON" IN THE
7 GULF OF MEXICO, ON APRIL 20, 2010
8
9 Applies to:
10 12-311, Cameron Int'l Corp. v. Liberty
11 Ins. Underwriters, Inc., a/k/a Liberty
12 Int'l Underwriters
oe ee ee ee ee XY
13
14
15 VIDEOTAPED DEPOSITION OF ALAN MANDEL
16 New York, New York
17 September 12, 2013
18
19
20
21
22
23
24 Reported by:
Bonnie Pruszynski, RMR
25 JOB NO. 65662

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 2 of 29

Page 31

1 A. Mandel
2 Q And who did you hear that from?
3 A That was from probably Jeff

:

4 Roberts.

5 Q Why would an "other insurance"

6 clause be a basis to decline to pay any money

7 to Cameron?

8 A I couldn't even tell you. I'm not
9 familiar with the "other insurance" clause.
10 Q When you underwrote the policy to
11 Cameron, you didn't have an expectation that
12 the “other insurance" clause could be used by
13 Liberty as a basis to decline to pay Cameron
14 any money?
15 A Never.
16 Q How did you prepare for today's |
17 deposition?
18 A I had a phone conversation, I think
19 it was one or two times, with Judy Barrasso,

20 and yesterday I met with Robert.

21 Q When were your conversations with
22 Ms. Barrasso?
23 A I couldn't tell you the dates. You

24 would have to ask Judy.

25 Q It was a long time ago?

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 3 of 29

23

24

25

A. Mandel
Q Engel Exhibit 7 is a copy of the
form policy that Liberty uses when it issues

insurance to insureds; correct?

A Correct, sir. Correct.
Q Do you see in the lower left-hand
copy -- withdrawn.

Do you see in the lower left-hand
corner of each page the document has a

notation that says 0101-XS (Ed. 03-00)?

A Yes, I do.
Q Do you know what that means?
A Normally, in an insurance company,

that's the endorsement, is the 0101-XS, and
normally the -- of any insurance company, the
edition date is when it was actually approved
and put into use to send to, you know,
producers.

Q If you look back to the Liberty
policy, which is the previous document I
showed you, and you turn to the last four
pages, where it has the terms and conditions
for the excess liability policy --

A Are you talking about the policy?

Q At the -- the last -- so, if you

TSG Reporting -

Page 40

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 4 of 29

Page 41
1 A. Mandel
2 look in the lower right-hand corner, there is
3 a number that is referred to as a Bates

4 number. If you go to LIU 01498, please, and

5 let me know when you are there.

6 A Okay.

7 Q Am I correct that the terms and
8 conditions of the Liberty excess liability

9 policy also have the same notation in the
10 lower left-hand corner as the standard terms
11 and conditions that are in Engel Exhibit 7
12 that we just looked at?
13 A Yes.
14 Q Is it fair to say that when you
15 issued the Liberty policy to Cameron, you
16 used the standard terms and conditions that

17 Liberty uses with all of its insureds?

18 A It varies by risk, but -- a lot of
19 the standard conditions, yes, are in there.
20 Q It's a good clarification. Let me

al ask it a different way.

22 Is it fair to say that when you
23 issued the Liberty policy to Cameron, you
24 used the standard terms and conditions that

25 Liberty uses with all of its insured to whom

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 5 of 29

Page 42

1 A. Mandel
2 it issues excess liability policies?
3 A Yes, but to an extent. There could
4 be an additional endorsement on -- depending
5 on the risk or exposure or something.
6 Q That would be -- those additional
7 endorsements would be in addition to the
8 excess liability policy terms and conditions
9 that are in this four-page document?
10 A It would be -- it could be an
11 additional endorsement. Case in point, like
12 professional liability exclusion.
13 Q Does Liberty use standard
14 endorsement language for each of the insureds

15 when it provides an endorsement?
16 A I -- I really don't know.
17 QO Is it fair to say that the four

18 pages that contain the excess liability

19 policy terms and conditions that were issued
20 to Cameron are the same terms and conditions
ai that Liberty uses when it issues excess

22 liability -- its excess liability policy to

23 insureds?
24 A Yes.
25 Q When you sold the policy to

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 6 of 29

Page 44

1 A. Mandel
2 see numbers here.
3 Q It's faded. It's the form policy

4 that is --

5 A Oh, ours. Okay, okay. I have it

6 in front of me, okay.

7 MR. DEES: No, no. /
8 A This one. Okay.
9 Q Keep that in front of you, please.
10 A Okay.
11 Q Also keep the Liberty policy in

12 front of you as well.

13 A Okay.
14 Q We are going to have that, too.
15 Are you familiar with the Liberty

16 policy Form 0101-XS (Ed. 03-00) that is Engel

17 Exhibit 7?

18 A Is that -- that's this one?

19 QO Yes.

20 A Yes. :
21 Q What is it?
22 A This is -- this is the actual
23 insurance contract, an insuring agreement,

24 how the defense is handled, just like any

25 insurance agreement in casualty, with

TSG R

eporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 7 of 29

Page 45
1 A. Mandel
2 parties, the definitions and conditions.
3 Q And is this the standard form that

4 Liberty uses?
5 A Liberty uses this on every excess

6 umbrella, not lead umbrella, first umbrella.

7 0 So, for every excess umbrella,

8 these are the standard terms and conditions
9 that Liberty uses with all insureds; correct?
10 A In this contract, yes.
11 Q Have you ever negotiated the
12 language of any of the provisions in this
13 excess liability policy form with an insured?

14 A Never.
15 Q Did you ever agree to change the

16 language contained in Liberty's policy form

17 for excess liability policies with any

18 insured?

19 A Never.
20 Q If you could keep that document in
21 front of you, and now look to --
22 A The Engel document?

Q Yes. :
A This one? /
Q Yes.

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 8 of 29

Page 46]
1 A. Mandel
2 A Okay.
3 QO Keep that in front of you, and also
4 turn to the excess liability policy terms of

5 the Liberty policy that was issued to

6 Cameron. That is the last one.

7 A On the actual policy, you want.

8 Q Yes. /
9 A Okay, it's right here.
10 Q Correct.
11 And if you could turn to the terms

12 and conditions that match the standard terms

13 and conditions, which are the last four
14 pages.

15 A Okay.

16 Q So, if you could stay on page

17 LIU 01498 with me.

18 A Okay.
19 Q And you said just a moment ago that
20 you never negotiated or changed the terms and

21 conditions that are in this policy; right?

22 A No.

23 Q No, you never did that?

24 A I have no authority. We don't do
25 that. So, I couldn't -- I can't assist you.

Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 9 of 29

1

A. Mandel
I don't do it.
O Were there any provisions in the
Liberty policy that was issued to Cameron

where the language was negotiated with

Cameron?
A Never.
Q And that's because Liberty required

Cameron to accept its standard terms and
conditions; correct?

A Well, we made an offer to Cameron,
which is the policy that we use.

Q In other words, Liberty required
Cameron to accept its standard terms and
conditions if it wished to purchase insurance

from Liberty?

A Correct.
QO Okay. You can put that document
aside.

I'm going to hand you what has been
previously marked as Engel Exhibit 4.
MR. KORN: You don't have these
memorized?
MR. DEES: Actually, I do.

MR. DEES: It's a much better copy

TSG Reporting - World

9580

Page 47

Sa A LILIES OUTST ABO RRR

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 10 of 29

Page 50

1 A. Mandel
2 Were you the primary employee at

3 Liberty that was responsible for selling to

4 Cameron the Liberty insurance policy?

5 A Yes, I guess you could say

6 "orimary."

7 Q Did you sell to Cameron an

8 insurance policy that did not provide

9 coverage for blowouts?
10 A No.

11 Q You understand that Cameron's

12 business, among other things, was to provide
13 blowout preventers to customers; correct?

14 A Yes, I did.

15 Q So, one of its biggest risks that
16 it would face would be a blowout; correct?
17 A Yes.

18 QO And you understand and understood
19 at the time that Cameron wished to purchase
20 insurance to cover the risk that might result

21 from a blowout; right?

22 A Yes.
23 Q Are you familiar with the Deepwater
24 Horizon disaster?

25 A Not that close, but -- I'm not a

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 11 of 29

Page 55

1 A. Mandel
2 business, so I don't -- you know.

3 Q Did you play any role in the
4 decision to deny insurance coverage to

5 Cameron?

6 A I have never had any claim meeting
7 with anybody in LIU under this claim, with

8 the exception when we had -- the claim came
9 in, and I was instructed to make copies of
10 the account summary, the underlying policy,
11 and the -- the binder. The account summary,
12 the policy, and the underlying policy, the
13 three documents, that's all I was instructed
14 to do, and then that was it.
15 Q Did you agree with the decision of
16 Liberty to deny coverage to Cameron?

17 A I can't make an assumption or an
18 opinion, because I am not a claim person. I
19 don't have the background to do that.
20 Q But you would agree that the
21 Deepwater Horizon blowout is the type of
22 incident that you would have assumed would be
23 covered by the Liberty policy that you sold
24 to Cameron; correct?

295 A It would be covered, yes.

TSG Reporting - Worldwid

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 12 of 29

Page 61

1 A. Mandel

2 year, including after the loss, we still

3 renewed the account, although we cut our

4 limit back.

5 Q Was it your understanding when you

6 sold the Liberty policy to Cameron that

7 Cameron obtained indemnity agreements in all
8 of its customer contracts?

9 A Correct.
10 Q So, every time that Cameron sold
11 equipment to a customer, it was your

12 understanding that Cameron had obtained

13 contractual indemnity?

14 A Well, not understanding. I was

15 told by Tony that there was contractual

16 agreements, indemnification agreements. He
17 had a dedicated insurance department, with
18 both contract wording and language, and I

19 believe they had about 20 employees or so, 20
20 to 24. I'm not exactly sure, but I think it
21 was over 20.

22 Q And that was the case every time
23 that Cameron sold a piece of equipment to a
24 customer, that it had an indemnity agreement

25 from the customer?

ISG
Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 13 of 29

Page 62]
1 A. Mandel

2 A Well, there was indemnity and

3 warranty. The equipment couldn't be altered.

4 Tt was a certain warranty after a certain

5 period of time. There was no responsibility
6 of Cameron if something happened.
7 Q Was it your -- withdrawn.

8 And those indemnity agreements

9 would cover blowouts?
10 A Tt would probably cover almost -- a

11 majority of their product line of equipment.

12 Q Was it your expectation when you

13 sold Cameron insurance that Cameron's losses
14 would always be covered by its customer
15 indemnity agreements?
“16 A I was under the assumption, yes.
17 Q Was it your expectation when you

18 sold Cameron insurance that Cameron would

19 always look first to its customer indemnity

20 agreements to cover its losses?

21 A Yes.

22 Q Was it also your expectation when

23 you sold Cameron insurance that Liberty would

24 provide coverage and pay Cameron's losses if

25 Cameron's customers refused to provide that

rting - Worldwide 877-702-9580

TSG Repo

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 14 of 29

Page 68
1 A. Mandel
2 no
3 QO Would you agree that Cameron faced
4 risk -- risks that might result froma

5 massive oil spill that could put Cameron out
6 of business?

7 A It's a possibility, depending on

8 how large the company is and how much they

9 have -- and what their other assets are.

10 There is a very big possibility due to fines.

11 Q That's what you wrote in your

12 account summary; right?
:

13 A That's because that's what I was

14 told.

15 0 If you can turn to page seven of |

16 your account summary.

17 Are you with me, sir?

18 A Yes, I am.

19 Q What does page seven describe?

20 A The lead umbrella, the carrier, the

21 limits, the term, the premium, the form,

22 occurrence versus claims made, and the --

23 their conditions of the lead umbrella.

24 Q Do you see that in describing the

lead umbrella policy, there is a section of

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 15 of 29

Page 69

1 A. Mandel

2 the form that says "defense"?

3 A Yes. It's outside the limit.

4 QO What does that mean?

5 A That defense could be -- go on
6 forever. It's outside the limit versus in
7 the limit. There are two options, either in

8 the limit or out of the limit. On this
9 account, it's outside the limit.
10 So, this could go on forever. It's
11 not indemnity. It's defense of the claim.
12 Q So, for the Illinois National
13 Insurance policy that was issued Cameron for

14 the '09-2010 policy year, defense costs were

15 outside limit; correct?

16 A Yes.

17 Q And when defense costs are outside
18 limits, that means defense costs are covered

19 by the insurance policy; correct?

20 A Yes. p
21 Q So, when you wrote this, it was /
22 your understanding that defense costs were

23 covered by the Illinois National policy;
24 correct?

25 A That's what I was advised.

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 16 of 29

Page 70

1, A. Mandel
2 Q If you could turn back to what was

3 previously marked as Engel Exhibit 2, this

4 document.
5 I would like you to turn to
6 Endorsement 29, which is at the Bates number

7 001130, in the lower right-hand corner.

8 A Zero zero --

9 Q 1130.
10 A Okay.
11 Q I would just like to direct you to :

12 paragraph H under two on the first page. Do
13 you see that?

14 A "Defense expenses will be in

15 addition to the limit"?

16 Q Yes. It says: "Defense expenses

17 will be in addition to the applicable limits

18 of insurance of this policy."

19 Do you see that?

20 A Um-hum.

21 QO. That language makes clear that

22 defense expenses are covered by the Illinois

23 National policy; correct?
24 A That's correct.

25 Q Tf you look down a little bit

TSG Reporting -

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 17 of 29

Page 82

1 A. Mandel
2 with pricing.
3 QO Did the "other insurance" clause in

4 the Liberty policy impact the premium that

5 you charged to Cameron in any way?

6 A Nothing. It has nothing to do with

7 it. :
8 Q Let's turn to the last page of the

9 Liberty policy.
10 Are you there, sir?
11 A I'm there. I'm sorry, I'm looking
12 at the page, and then you are looking at me.
13 Q Clause F on the last page of Engel
14 Exhibit 3 contains the "other insurance"

15 provision; right?

16 A Yes, it does.
17 Q What is the purpose of the "other
18 insurance" clause as used in the -- in the

19 Liberty policy?

20 A Well, not the Liberty policy, but
21 the only thing I know about the "other

22 insurance" clause is that it's other

23 insurance that coulda be somebody who has

24 self-insurance, and that would be -- in case

25 there is a claim, that would be first that

TSG Reporting - Worldwide 877-702-9580
Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 18 of 29

Page 83
1 A. Mandel

2 would be paid, and then we would come into

3 play.
4 They don't want to also pay -- a
5 lot of times you wind up -- you know, you :
6 don't want to pay the same claim two times --
7 you know, it could be there is no control on
8 it.
9 That's the only thing I know about
10 the "other insurance" clause.
11 Q So, as far as you know, the purpose
12 of the "other insurance" clause is to prevent
13 the insured from collecting twice for the /
14 same loss?
15 A That's correct. I never had an
16 example. I really never seen it, you know,
17 in the history of working in insurance, so I

18 don't know about it. /
:
19 Q And your history goes back pretty

20 far, all the way back to 1977. |

21 A Thirty-seven years, yeah.

22 Q Did you discuss with Cameron at any
23 time the “other insurance" clause?

24 A Did I discuss with Cameron? No, I
25 never had any contact with them, except at

TSG Reporting - Worldwide 877-702-958

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 19 of 29

23

24

25

Page 104
A. Mandel

with its customers; correct?

A Correct.

QO And it was on that basis that you
underwrote this risk; correct?

A Correct.

Q Was it your expectation, when you
underwrote that, the risk, that the third
parties with whom Cameron had those
contractual indemnities would pay the loss
that Cameron incurs?

A Yes.

Q And if it didn't pay that loss,
then it would be Liberty's responsibility,
because it issued an insurance policy, to pay
that loss; correct?

A Correct.

Q If you could turn to the last page
of the document, please.

What does this page describe?

A The conditions of our policy, the
endorsements, and the pro and cons, so if
somebody looks it over and wants to figure
what the exposure is. With every pro,

there's always a con. Like the glass is half

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 20 of 29

Page 108

1 A. Mandel
2 A No, I don't believe so. '
3 Q Is it fair to say that in the
4 broking -- rather -- withdrawn.
5 Is it fair to say that in the
6 underwriting file, there is no reference to |
7 any discussion that was had about the "other :
8 insurance" clause with anyone from Cameron or
9 Marsh?
10 A No. I never was involved in
11 anything on the "other insurance” clause.
12 Nothing was ever questioned about it, in my
13 history of insurance. |
14 Q When you discussed with Mr. Black

15 and Mr. Lee the contractual indemnities, did

16 that have anything to do with the "other

17 insurance” provision?

18 A Not at all. I never knew anything

19 about the "other insurance" provision, the |
20 other insurance. It was never discussed. I
21 have never discussed it with anybody in |
22 insurance ever. No one has ever brought

23 anything to my attention about the "other
24 insurance" clause.

25 QO You weren't discussing Cameron's

TSG Reporting - Worldwide 877-702-9580
Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 21 of 29

Page 109

1 A. Mandel

2 contractual indemnities for purposes of

3 assessing their impact on the "other

4 insurance” provision; correct?

5 A Correct.

6 Q Is there another provision in the

7 Liberty policy that would render relevant the

8 contractual indemnities?
9 A No idea.
10 QO What relevance to Cameron's risk

11 did the contractual indemnities that you

12 discussed with Mr. Black and Mr. Lee have?
13 A Tremendous impact. Wouldn't touch
14 this account with a ten-foot poll. Not on
15 the exposure, and the catastrophic exposure
16 especially.

17 QO And that's because you had the

18 understanding that the customers of Cameron

19 that owed Cameron indemnity would pay the

20 losses that Cameron suffered.
21 A Well, there was a cap -- Tony Black
22 told me there was a -- they capped the --

23 their exposure in their contracts that they
24 could be held liable, Cameron.

25 Q And it was based upon the

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 22 of 29

Page 110

1 A. Mandel

2 understanding that they would actually pay,

3 that you agreed to write the risk; correct?
4 A I believe so. I don't have the

5 actual agreements.

6 Q When you issued the policy to

7 Cameron, did you think that if those

Re ae eee NEN a TET ANT NTO ORO A NG SELENE RENE

8 customers refused to pay, Cameron had an
9 obligation to go sue them before Liberty
10 would pay a loss that Cameron suffered under

11 the policy?

12 A IT have no idea.

13 Q Have you ever heard of any

14 insurance company ever requiring that as a
15 condition to coverage?

16 A Not really, but you never know. I

17 really can't say. It could be, but I didn't

18 read anything about it. I really don't know.

19 Q So, in your more than 30 years of

20 experience, that has never happened, to |
21 you -- to your knowledge?
22 A Not to me. Not to me personally.
23 QO When you sold Cameron the insurance |

24 policy and charged it a premium, you knew

25 that there would be circumstances that

Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 23 of 29

Page 111

1 A. Mandel

2 Liberty might have to pay Cameron's losses;

3 correct?

4 A Yes. Yes.

5 Q What were the circumstances.

6 A Something maybe that didn't fall
7 outside -- I don't know. It could be a --
8 had to be some kind of catastrophic claim.

9 Maybe something happened such as what

10 happened here. I don't really know.

11 Q In other words, you did not sell
12 Cameron an insurance policy that you

13 considered to be completely illusory; right?

14 MR. DEES: Objection to the form of
15 the question.

16 A I don't understand your question.
17 Q Let's go back to this document,

18 Exhibit 145. It's the tower that has the
19 premiums filled in. I think we talked about

20 this earlier.

21 Would you describe the tower of

22 insurance that Cameron purchased for this

23 policy year as a follow-form tower?

24 A Tt would be a follow-form tower,
25 correct, subject to the terms and conditions

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 24 of 29

23

24

25

A. Mandel
Cameron if its attachment point was at
$500 million as opposed to $100 million?

A I'm sorry, can you --

Q Would you agree that Liberty would
have charged a lot less per million to
Cameron if Liberty's attachment point was at
$500 million as opposed to $100 million?

A Well, I -- we probably would pass
on the account, due to the exposure is so
large compared to the premium so small. It
may not make sense for us, to get toa
minimum premium, when I can do a minimum
premium on another class of business which
could be more profitable to the insurance
company.

Q So, you might not have underwritten
this policy at all --

A We might --

Q -- because you wouldn't have been
able to charge enough money at a higher layer
to justify the liability?

A Right. In other words, the 2,000 a
mill, we may say for a class of this

business, we would need at least $5,000 per

Page 114

TSG Reporting - Worldwide 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 25 of 29

Page 115
1 A. Mandel

2 mill. It just doesn't make sense from an

3 underwriting standpoint, because after all,
4 our business is to be profitable.
5 Q Well, here you got comfortable with

6 $4200 per million at $100 million; correct?

7 A Correct.

8 QO Would it be fair to say that if

9 Liberty were at a higher layer than -- if it
10 agreed to issue a policy to Cameron, it would

11 have charged less than $4200 per million?

12 A We most likely would have, if |
13 everything was lined up properly from an
14 underwriting standpoint.
15 Q In your view, is there any basis to

16 justify charging Cameron $4,200 per

17 million --

18 A The basis was from Tony Black.

19 MR. DEES: Let him finish.

20 Q I didn't quite finish my question.
21 A Oh, I'm sorry.

22 Q Let me try that again, because I

23 was going to ask a different question.
24 A Okay.

25 Q In your view, is there any basis to

e 877-702-9580

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 26 of 29

Page 116
1 A. Mandel

2 justify charging Cameron $4,200 per million
3 for coverage for liabilities in excess of
4 $500 million?

5 A Is there a justice, you said?

Seen NTN TT ANTE OTE ATTN SER oe a NET REA EERO

6 Q In your view, is there any basis to

7 justify charging Cameron $4,200 per million

8 for coverage for liabilities that do not
9 attach in excess of $500 million?
10 A I'm not -- you are going to have
11 to -- I have a problem with your question. I
12 don't --
13 Q Well, $4,200 was the price per

14 million you charged at $100 million; right?
15 A Right. Right.

16 QO And we established that if you

17 moved up the tower and still issued the

18 policy, you would have charged less per

19 million dollars; right?

20 A That's true. Correct.

21 Q Is there any basis to charge the
22 same $4,200 for higher layers of coverage
23 under Liberty's pricing policies?

24 A Probably not.

25 Q You can put that document to the

TSG Reporting - Worldwide 877-702-958
Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 27 of 29

1 A. Mandel :
2 QO Focusing on the first section of

3 the document, operations, you wrote in here

4 that Cameron is "the leading manufacturer of

5 oil and gas pressure control and separation

6 equipment," and then it lists a number of

7 different products that it sells; right?

8 A Yes.
9 QO So, you understood that Cameron was
10 a manufacturer that provided equipment for

11 the oil and gas industry; right?

12 A Correct.

13 QO And I think we talked about this
14 earlier. You understood that Cameron faced
15 substantial exposures resulting from

16 potential blowouts; correct?

17 A Yes.
18 Q And in the exposure section on page
19 two of the document, you wrote that "a

20 massive oil spill could potentially put

21 Cameron out of business."

22 A Correct.
23 Q And one of the reasons that Cameron
24 went to insurers like Liberty is to protect

against the risk that it might be put out of

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 28 of 29

A. Mandel
business; correct?

A Yes.

Q And that was the understanding that
you had with Cameron when you sold Cameron
this policy; correct?

A Say that one more time.

Q And that was the understanding that
you had with Cameron when you sold Cameron
this policy; they would be buying insurance
from you to protect against the risk.

A Correct.

Q And that risk was that they could

potentially be put out of business by a

blowout.
A Yes.
Q A blowout like what happened with

the Deepwater Horizon; correct?

A Well, we're talking mainly about
the pollution exposure of destroying the
ocean and -- than their product, not the --
you know, including, of course, the
malfunction of a product, the products that
they have, but mainly the pollution was the

big essential thing.

Page 157

Case 2:10-md-02179-CJB-DPC Document 12440-6 Filed 03/03/14 Page 29 of 29

Page 174
1 A. Mandel
2 were relevant because Cameron might need to
3 call upon the indemnitor to pay?
4 A Yes, that is correct.
5 Q And if they didn't pay, then
6 Liberty would have exposure under its policy;
7 correct?
8 A I believe so, but you would have to
9 talk to the claim department, because -- you
10 know.
11 Q That was your understanding at
12 least?
13 A Yes.
14 (Continued on next page with
15 witness jurat.)

